                       Case 4:15-cr-00232-SWW                  Document 82              Filed 12/28/17         Page 1 of 5
AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1


                                                                                                                           DEC 2 8 2017


                UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE                                0EPCLERK

                                  v.
                RUBEN DARIO GONZALEZ-PEVA                                         Case Number: 4:15CR00232-001

                                                                                  USM Number: 29280-009
                                                                                   Robert Tellez (appointed)
                                                                                  Defendant's Attorney
THE DEFENDANT:
lil1 pleaded guilty to count(s)        1 of the indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
 18 u.s.c. § 371                   Conspiracy to receive & possess a firearm by an illegal alien             1/12/2015                   1
                                   Class D Felony



       The defendant is sentenced as provided in pages 2 through         __5_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
lil1 Count(s)    1-10                                             lil1 are dismissed on the motion of the United States.
                 - - - - - - - - - - - - D is
         It is ordered that the defendant must notify the United States attorney for this district within 30 <Jays of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenrumt must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                          12/28/2017




                                                                         Susan Webber Wright, U.S. District Judge
                                                                         Name and Title of Judge




                                                                         Date
                      Case 4:15-cr-00232-SWW                 Document 82           Filed 12/28/17          Page 2 of 5
AO 24SB (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                                     2_ of
                                                                                                    Judgment -Page _ _       5
DEFENDANT: RUBEN DARIO GONZALEZ-PEVA
CASE NUMBER: 4:15CR00232-001

                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
TIME SERVED.




     liZI' The court makes the following recommendations to the Bureau of Prisons:
IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be held in
Mason, Tennessee.



     liZI The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                   D a.m.      D p.m.       on

          D as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

a - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                        By ---------....,.,,.=-=-----==---,.-=-=---------~
                                                                                       DEPUTY UNITED STATES MARSHAL
                      Case 4:15-cr-00232-SWW                 Document 82            Filed 12/28/17         Page 3 of 5
AO 24SB (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page     3    of         5
DEFENDANT: RUBEN DARIO GONZALEZ-PEVA
CASE NUMBER: 4:15CR00232-001
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:      No supervised release.



                                                    MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    !i1' You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 4:15-cr-00232-SWW                 Document 82             Filed 12/28/17         Page 4 of 5
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment-Page -~4- of                 5
 DEFENDANT: RUBEN DARIO GONZALEZ-PEVA
 CASE NUMBER: 4:15CR00232-001
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                 JVTA Assessment*                                         Restitution
 TOTALS             s                          s                                                        s

 D The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.aYl!!ent, unless ~citied otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                                             Total Loss**     Restitution Ordered Priority or Percentage




TOTALS                                                                s                o.oo s____--=-o=.o-=-o

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the          D fine       D restitution.
       D the interest requirement for the          D fine     D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       Case 4:15-cr-00232-SWW                 Document 82             Filed 12/28/17          Page 5 of 5
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                          Judgment -Page      5      of          5
 DEFENDANT: RUBEN DARIO GONZALEZ-PEVA
 CASE NUMBER: 4:15CR00232-001

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    D     Lump sum payment of$
                                         - - - - - - due immediately, balance due
            D     not later than - - - - - - - - - , or
            D     in accordance with D c, D D,   D E,or                     D Fbelow; or

B     D     Payment to begin immediately (may be combined with            DC,         D D, or      D F below); or

 C    D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                            over a period of
          _ _ _ _ _ (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                         over a period of
          _ _ _ _ _ (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!UYJ>Cila!ties is due during
the petj.od of imprisonment. All criminal mone~ _pCnalties, except those payments niade through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the follow!!ig_order: (1) assessment, (2) restitution principall (3) restitution interes~ (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) JVTA assessment, (8) peruuties, and (9) costs, mc riding cost of prosecution and court costs.
